
Bailey, J., and Mathias, J.,
concur.
Order
Appellant, State of Indiana, by counsel, filed a Motion to Publish Memorandum Decision.
Having reviewed the matter, the Court finds and orders as follows:
1. The Appellant’s .Motion to Publish Memorandum Decision is granted.
2. This Court’s opinion heretofore handed down in this cause on August'22, 2017, marked Memorandum Decision, is now'ordered published.
3. The Clerk of this. Court is directed to send copies of said opinion together with copies of this order to the West Publishing Company and to all other *635services to which published opinions are normally sent.
Ordered 10/4/2017.
Bailey, Mathias, JJ., Barteau, Sr. J., concur.
